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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


   UNITED STATES OF AMERICA                             )
                                                        )
   v.                                                   )       Case No.: 3:11-00012-14
                                                        )       Senior Judge Wiseman
   DEMETRIUS DUNCAN                                     )


                                  MOTION TO CONTINUE TRIAL

          COMES NOW Defendant Demetrius Duncan, by and through undersigned counsel, and

   hereby moves this Honorable Court for the entry of an Order continuing the trial of this matter

   from September 25, 2012 to a later date that is convenient to the Court and counsel. In support

   hereof, Defendant Duncan states as follows:

          1.      The government’s investigation in this matter began in 2006. (Docket Entry 403,

   page 10). Ostensibly, the government has now had approximately six years to conduct its

   investigation and prepare for trial.

          2.      This matter was initiated by Criminal Complaint on December 9, 2010, and most

   Defendants were appointed counsel within approximately one week. (Docket Entry 2; Docket

   Entry 41, et seq.). Counsel for most Defendants have now had approximately twenty-one months

   to prepare for trial (December 2010 – September 2012).

          3.      Undersigned counsel entered this case on December 29, 2011, and is Defendant

   Duncan’s third attorney. (Docket Entry 649). Undersigned counsel has had approximately a

   year less to prepare than counsel for other Defendants in this matter.

          4.      The Court has previously declared this case to be a complex and extended “mega

   case” and is aware that the discovery materials are quite voluminous. (Docket Entry 666).

                                                    1


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